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                                UNITED STATES DISTRICT COURT
                                EASTERN DISTRICT OF MISSOURI
                                      EASTERN DIVISION

UNIl lrD STAIES OF AMERICA.                                 )
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                                                            )         No.4:20 MJ 7194 SPM

TERICA TANEISHA ELLIS.                                      )
                                                            )
                       Del'endant.                          )
                                                            )
                 MOTION FOR PRETRIAL DETENTION AND HEARING

       Comes now the United States of America, by and through its attomeys, Jeffrey B. Jensen,

United States Attomey for the Eastem District of Missouri, and Angie E. Danis and Gwendolyn

E. Carroll, Assistant United States Attomeys for said District, and move this Court to order the

def-endant detained pending    trial, and furlher requests that   a detention hearing be held at the   time

defendant's initial appearance before the United States Magistrate Judge pursuant to Title 18,

United States Code, Section 3141,et. seq., and per current guidance from the Court.

       As for its grounds for detention, the government requests this Court to consider                 the

following factors pursuant to Title 18, United States Code, Section 3142.

                                      Presumption of Detention

        l.     The defendant is charged with conspiracy to commit a murder-for-hire, in which

death resulted, in violation of   Title   18, United States Code. Section   1958. This is an offense for

which the statutorily mandated punishment is either life imprisonment or the death penalty, giving

rise to a rebuttable presumption ol detention pursuant to Title 18, United States Code. Section

3142(0(B).
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                            The Nature and Circumstances of the Offense

        2.       Title   18, United States Code, Section 3142(9) requires this Court to consider the

nature and characteristics of the offense charged, including whether the offense is a controlled

substance offense or a crime          of violence. The defendant is charged with using facilities of

interstate commerce to commit a murder in exchange for a monetary reward and, in this case. the

murder actually occurred. As a result, the first of the $3142(9) factors weighs                in favor ol

detention.

                         The Weieht of the Evidence Asainst the Defendant

        3.       Section   3   ru2G)Q) requires this Court to consider the weight of the evidence

against the defendant. The govemment submits that the evidence against the defendant is strong

and relies on the f'acts as articulated in the Complaint    Affidavit in reliance on   same.

                          The Historv and Characteristics ofthe Defendant

        4.       The def'endant has two misdemeanor convictions from 2006 and 2007 of which the

Govemment is aware at this time. One of those is a misdemeanor drug offense and the other is for

indecent exposure. ln2014, the defendant was cited by the Germantown Police Department lbr

iailing to appear in court on    a   tralfic violation.

                  The Nature and Seriousness of the Danser to the Communifl'

        5.       The defendant conspired with others to arrange for the murder of a 21-year-old

man. Despite being at the         scene, rather than calling the police, the defendant called her co-

conspirator then immediately fled from St. Louis back to her home in Memphis, Tennessee. The

safety ofthe community would be at risk were the defendant to be released on bond. See          l8 U.S.C.

$ 3 ta2(g)(a).

                                                 Risk of Flieht
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       6.       There a serious risk that the defendant will flee because she is facing a significant

sentence   in this   case, based on the severity   of the charges and her alleged role in the offense.

Fr:rthermore, the def'endant does not have any familial, propefiy, or financial connections to the

Eastem District of Missouri of which the Government is aware at this          time.   Furthermore. the

Govemment is not aware of the defendant having a legitimate, longterm history of employment.

which also creates concern of a flight risk.

                                               Conclusion

       7   .    The govemment submits that when considering all of the factors outlined in Title

18, United States Code, $     3la2(g), the factors weigh heavily in favor ofdetention. There is clear

and convincing evidence that no condition or combination ofconditions that       will reasonably   assure

the safety ofany other person and the community as well as the appearance of the defendant.

                                                         Respectfully submitted,

                                                         JEFFREY B. JENSEN
                                                         United States Attomev


                                                         /;|4ncrc E. Danis
                                                         ANGIE E. DANIS, #64805MO
                                                         GWENDOLYN E. CARROLL, 4657OO3NY
                                                         Assistant United States Attomeys




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